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 6                     IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Yvonne L Roberts,                                No. CV-20-01006-PHX-MTL
10                 Plaintiff,                         ORDER
11   v.
12   Connections AZ LLC,
13                 Defendant.
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15         The Court has received notice that this case has settled (Doc. 10). Accordingly,
16         IT IS ORDERED that the Clerk of Court shall, without further notice, dismiss this
17   entire case on March 22, 2021, with prejudice, unless prior thereto a party withdraws the
18   Notice of Settlement (Doc. 10).
19         IT IS FURTHER ORDERED that any pending deadlines in this matter are stayed.
20         Dated this 18th day of February, 2021.
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